Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 1 of 22




                     EXHIBIT 24




                                                                 App. 0857
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 2 of 22




                                                                 App. 0858
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 3 of 22




                                                                 App. 0859
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 4 of 22




                                                                 App. 0860
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 5 of 22




                                                                 App. 0861
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 6 of 22




                                                                 App. 0862
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 7 of 22




                        Exhibit 1 to
           Declaration of Joe Peters




                                                                 App. 0863
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 8 of 22




                           MEMORANDUM OF AGREEMENT

          BETWEEN THE DEPARTMENT OF HOMELAND SECURITY,
             U.S. CITIZENSHIP AND IMMIGRATION SERVICES,
                                 AND
    TEXAS DEPARTMENT OF PUBLIC SAFETY, DRIVER LICENSE DIVISION

                     STATE OR LOCAL GOVERNMENT AGENCY

  I. PARTIES.

  The parties to this Memorandum of Agreement (MOA) are the Department of Homeland
  Security, U.S. Citizenship and Immigration Services (DHS-USCIS), and the Texas
  Department of Public Safety, Driver License Division (User Agency).

  II. AUTHORITY.

  The authorities governing this MOA include, but are not limited to, the following:

         Personal Responsibility and Work Opportunity Reconciliation Act of 1996, Pub.
         L. No. 104-193, 110 Stat. 2105, as amended.

         immigration Reform and Control Act of 1986. Pub. L. No. 99-603, 100 Stat.
         3359. as amended.

         Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L.
         No. 104-208, 110 Stat. 3009, as amended.

         Privacy Act, 5 U.S.C.   § 552a, as amended.
         The Inter-Governmental Cooperation Act. 31 U.S.C.     §   1535, as amended.

         Real ID Act of 2005, Pub. L. No. 109-13. 119 Stat. 231, as amended.

         TX Trans. Code   § 52 1.001(3), as amended.
         TX Trans. Code §521.101, as amended.

         TX Trans. Code §521.142(c)(7), as amended.

         TX Admin Code §15.171, as amended.

  Pursuant to the requirements of 0MB Circular A-97, v hich establishes the
  President’s guidelines for implementing the Intergovernmental Cooperation Act, 31
  U.S.C. Section 6501, et seq.. as amended, the User Agency certifies that it cannot procure



                                              I
                                                                          Rev. Ver. /I9IlO




                                                                                             App. 0864
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 9 of 22




  the immigration status verification services requested pursuant to this MOA reasonably
  and expeditiously through ordinary hisiness channels.

  III. PURPOSE.

  The puipose of this MOA is to establish the terms and conditions governing the
  participation of the User Agency to provide the specified benefit in the DHS-USCIS
  Systematic Alien Verification for Entitlements (SAVE) Program for the purpose of
  verifying citizenship and immigration status information of non-citizen and naturalized or
  derived U.S. citizen applicants (applicant) applying for Driver’s Licenses and
  Identification Cards (benefits). The limited data will be provided to the User Agency
  by an:

     1) Initial response (initial verification) by SAVE to an on-line inquiry by the User
        Agency; and

     2) Additional verification procedures where applicable; or

     3) A response to a properly submitted Form G-845.

  IV. RESPONSIBILITIES.

  A. DHS-USCIS agrees to:

  (1) Maintain and make available to the User Agency in limited part and manner
  determined by DHS-USCIS after consultation with the User Agency, an immigration and
  naturalized or derived citizenship status information verification system under the SAVE
  Program known as the Verification Information System (VIS). which can be found at
  http /Iww.dhs.gov/xnfosharelpubIicatonslgc 1 35458955781 .shtm#l 0;

  (2) Respond through VIS to properly submitted verification requests from the User
  Agency by providing the limited information noted in point (1) of PURPOSE
  immediately above;

  (3) Process and respond to properly submitted additional verification requests submitted
  by the User Agency through VIS or on Fonn G-845. Response time may vary,
  depending on DHS-USCIS workload, resources available to process additional
  verification requests. arid the applicant’s specific circumstances;

  (4) Provide to the User Agency operating instructions necessary to use VIS so that the
  User Agency can designate Users within the agency;

  (5) Provide to the User Agency SAVE Program point of contact information for
  questions or problems regarding the User Agency’s participation in SAVE;




                                                                          Rcv. \‘er. 11)9110




                                                                                               App. 0865
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 10 of 22




   (6) Provide access to training and information regarding the laws, policies, and
   procedures that govern verifying, safeguarding, using. maintaining, and disclosing certain
   citizenship and immigration status information;

   (7) Provide the User Agency access to Form G-845, and other forms and/or supplements
   as appropriate, which may be reproduced andior computer generated without prior DHS
   USCIS approval:

   (8) Recover no more than its actual costs. The total estimated cost of the agreement is
   specified on the attached USCIS Anticipated Collections from Non-Federal Sources
   Addendum. The User Agency certifies that it has obligated at least the amount specified
   on the USCIS Anticipated Collections from Non-Federal Sources Addendum to pay for
   its SAVE usage. DHS-USC1S shall notify the User Agency’s designated Point of Contact
   (POC) in writing when the amount paid plus what is owed for wpaid usage equals 80%
   percent of the estimated total costs. DHS-1JSC1S will not provide services that would
   result in the amount paid plus the amount owed for unpaid usage exceeding the amount
   specified on the USCIS Anticipated Collections from Non-Federal Sources Addendum.
   In this instance, DHS-USICS will be excused from further performance of the work
   unless and until the User Agency’s authorize1 official increases estimated total cost of
   this agreement by modification pursuant to provision VIII of this MOA;

   (9) Submit invoices to the User Agency’s payment office at the address specified on the
   USCIS Anticipated Collections from Non-Federal Sources Addendum, with a copy
   furnished to the POC. DHS-USCJS may submit invoices when the work is completed or
   as otherwise authorized. The High Level Identifier, tax identification number, and
   associated dollar amounts will be referenced on all invoices; and

   (10) Promptly initiate year-end and closeout adjustments once final costs are known.

   B. User Agenc agrees to:

   (1) System Use.

   (a) Establish the identity of the applicants and require each applicant to present the
   applicant’s immigration or naturalization documentation that contains the information
   (e.g., alien registration number) required by the SAVE Program;

   (b) Physically examine the documemtation presented by the applicant arid determine
   whether the document(s) reasonably appear(s) to be genuine and to relate to the
   individual;

   (c) Provide to the SAVE Program the information the SAVE Program requires to respond
   to User Agency requests for verification of immigration or naturalized or derived
   citizenship status information, iriuding (1) infbrrnation from the applicant’s immigration
   or naturalization documentation for initial automated verificaion, (2) additional
   information obtained from the aliens imrnigrauoi or naturalization documentation for



                                                                         Rev. Ver. 1/19/10




                                                                                             App. 0866
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 11 of 22




       automated additional verification, and (3) completed Forms G-845 and other documents
       and information required for manual additional verification. For manual only
       verification, ensure that Forms G-845 and other documents and information required for
       manual verification are provided;

   (d) Ensure that, prior to using V1S. all Users performing verification procedures complete
   SAVE required training including: reading the SAVE Program Guide, taking the latest
   version of Web tutorial(s and maintaining a working knowledge of requirements
   contained therein and in this MOA as updated:

   (e) Ensure that User Agency repreeatatives are provided with and maintain User Ids
   only while they have a need to perfcrm verification procedures;

   (f) Ensure all Users performing verification procedures comply with all requirements
   contained in the SAVE Program Guide, web-based tutorial, and this MOA, and updates
   to these requirements;

   (g) Ensure that all Users performing verification procedures have contact information for
   the SAVE Program and SAVE Monitoring and Compliance;

   (h) Ensure all Users perftwm any additional \ i-if:cation proceduies the SAVE Program
   requires andJor the applicant requests after the L r Agency initiates a request for
   verification;

   (i) Use any information provided by DHS-USCIS under this MQA solely for the purpose
   of determining the eligibility of persons applying for the benetit issued by the User
   Agency and limit use of such information in accordance with this arid all other provisions
   of this MOA;

   (j) Comply with the requirements of the Federal Information Security Management Act
   (FISMA (PL-107-347), Title III, Secion 301) aró 0MB guidance as applicable to
   electronic storage, transport of records between agencies, and the internal processing of
   records received by either agency under the terms of this MOA;

   (k) Safeguard such information and access methods to ensure that it is not used for any
   other purpose than described in this MOA. and protect its confidentiality; including
   ensuring that it is not disclosed to any unauthorized person(s) without the prior written
   consent of DHS-USCIS:’

   0) Comply with the Privacy Act, 5 U.S.C. Section 552a. and other applicable laws,
   regulations, and policies. including but not hrnited to all 0M3 and DHS privacy
   guidance. in conducting verificatici procedures pursuant to tns MOA, and in
                                                                 1

   1
     Each applicant seeking access ‘.0 itfc,rmaiic regard:ng Fir.sI irse.friy di.’ s b. submitting a written signed
   request to DHS-USCIS. lnstructic’nc for sihriitting uh reqiies
                                                             . may bc found co the Freedom of
                                                             t
   Information/Privacy Act page of         us.




                                                            4
                                                                                               Rev. ‘cr. )‘19/1O




                                                                                                                   App. 0867
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 12 of 22




   safeguarding. maintaininiz, and disciosing an’ data provided or received pursuant to the
   MOA;

   (m) Comply with federal laws pr:liibiting discrimination against applicants and
   discriminatory use of the SAVE Program based upon the national origin, color, race,
   gender, religion, or disahilit of the applicant

   (n) Provide all benefit-applicants who are denied benefits based solely or in part on the
   SAVE response with adequate written notice of the denial and the information necessary
   to contact DHS-USCIS (see attachment 1: Fact Sheet, which is subject to revision and
   reposting on the SAVE Website arid Online Resturzes so that such individual may
   correct their records in a timely manner, if necessary;

   (o) Provide all benefit-applicarts wao arc deiied berefs based solely or in part on the
   SAVE response with the oppol’tunity to use the U;er Agency’s existing process to appeal
   the denial and to contact DHS-USCIS to coiiect their records prior to a final decision, if
   necessary; and

   ,) Refrain from using S:VE. or assisting any person or entity, to comply with the
   employment eligibilit\ verificaticu icquireinerds f section 274A of the Immigration and
   Nationality Act, 8 U.S.C. Secuon 1324a.

   (2) Monitoring and Compliauce.

   (a) Provide the SAVE Program and SAVE Monitoring and Compliance with the current
   e-mail, U.S postal service address, physical address, name and telephone number of the
   User Agency authorized representative fhr any notifications, questions or problems that
   may arise in connection with the User Agency’s participation in SAVE and with
   notification of changes in the heae fit offe  by e User Ageoc;

   (b) Notify the SAVE Program and SAVE Monitoring and Compliance immediately
   whenever there is reason to believe a violation of this MOA has occurred;

  (c) Notify the SAVE Program and SAVE Monitoring and Compliance immediately
  whenever there is reason to beIiee an i orniatLn breach has occurred as a result of User
  Agency action or inaction pursuant to Office of Management and Budget (0MB)
  Memorandum M-07-16, ‘Safeguarding Aganst and Responding to the Breach of
  Personally Identifiable Information”;

  (d) Allow SAVE Monitoring and Compliance to monitor and review all records and
  documents related to the use, abuse. misuse. frauculent use or improper use of SAVE by
  the User Agency, including, but not limited to original applicant consent documents
  required by the Privacy Act. 5 U.S.C. Section 552a or other applicable authority;

  (e) Allow SAVE Monitoring aria Compliance to conduct desk audits and/or site visits to
  review User Agency’s conipiiai with this MOA and all other SAVE-related policy,


                                               5
                                                                         Rev. Vet   /19/10




                                                                                             App. 0868
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 13 of 22




   procedures. guidance and law aprliuable to conducting veriflcaion and safeguarding.
   maintaining, and disclosing any :ata provided or received pursuant to this MOA;

   (f) Allow SAVE Monitoring and Compliance to perform audits of User Agency’s User
   Ids use and access. SAVE Training Records. SAVE financial records, SAVE
   biographical information. s stem profiles and usace patterns and other relevant data;

   (g) Allow SAVE Monitoring and Compliance to interview any and all User Agency
   SAVE system users and any and all contact persons or other personnel within the User
   Agency regarding any and all questions or problems which may arise in connection with
   the User Agency’s paiiupaton in SAVE:

   (h) Allow SAVE Monitoring and Compliance to monitor system access and usage and to
   assist SAVE users as nccessar to ensure compliuiee .‘;ith the terms of this MOA and the
   SAVE Program requirements by its authorized aents or deicnees: and

   (i) Take corrective measures in a timely manner to address all lawful requirements and
   recommendations on every written tnciirig including hut no limited to those of SAVE
   Monitoring and Compliance regarding va;te. fraud, and abuse, and discrimination or any
   misuse of the system, non-compliance with the terms. conditions and safeguards of this
   MOA, SAVE Program procedures or other applicable law, regulation or policy.

   (3) Reimbursement.

  (a) Pay the transaction prices provided in he attached cuiTeut sandard billing rates,
  which along with methods of payment are suhleu to change upon prior written
  notification to the User Agency. Each ycal, the User Agency will obligate funds
  sufficient to reimburse DHS-USCS unuer a currcnt appropriation upon execution of the
  attached USCIS Anticipated Collections from Non-Federal Sources Addendum;

  (b) Pay in full within 30 days of the rnvoice date. The User Agency will pay any
  applicable sales, use, excise, and like taxes. where required by law, that are stated on each
  invoice. Regardless of payment type. the User gencv ‘viii cearly indicate the High
  Level Identifier with remittance:

  (c) If the User Agency pre-pays for its usage, it shall submit the entire committed amount
  before being allowed access to VIS; and

  (d) Promptly discuss arid tesolve issues anu quesons with D1-iS-LSCIS regarding
  payments. Delinquent payments shall be bandied in accordance with the Debt Collection
  and Improvement Act of 1996, 31 U.S.C. Section 3701. interest on all unpaid balances
  shall be charged at the rate of the cdrrent value of funJs to the United States Treasury
  effective on the date of the invoic. The rate is ii e Treasury tax and loan rate. It is
  published annually or qua,-teily by the Secretary of the Treasury in the Federal Register
  arid the Treasury Fiscal Requirements Manual Bulletins. Handling charges will accrue at
  monthly rates of $5.00 for each of the first two months of delinquency and $10.00 for



                                                                          Rev Vet. 1/19/10




                                                                                             App. 0869
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 14 of 22




  each month thereafter. in addition to interest and handing charges, if DHS-USCIS does
  not receive payment within 90 days of the invoice. 6% per annum additional interest will
  be assessed. Charges will be comp:ed from the date of the nx’oice and will accrue
  monthly with the applicable interest and handling charges. In the case of any late
  payment, the amount received will he applied in this squence: (i)tO any accrued penalty
  and handling charges: (2) to any ac.ued inties!: and (3) to outstanding principal.
  Failure to make timely payment may result in termination of services.

  V. POINTS OF CONTACT.

  USCIS SAVE Program MS            U.S. ishp and lmiti;ation Services,
  Department of Homeland Sec.irit’.          DC 2u529-262D, (888) 464-4218,
  Attn: SAVE Operaucns. E-mail: SAireg.stiati.ndis.gov.

  USCIS S:\VE Monicrin and Ccipliance MS 2640, U.S. Citizenship and Immiation
  Services, Department of Hone1ard ccit Washir.gtn. DC 20529-2640.
  (888) 464-4218. E-mail: SAV.rr.ooitorin dl

  USER AGENCY- Ron Coieuian, Program Administrator, 5S05 N. Lamar Blvd.. Austin,
  TX 78752, (512) 424-7652. E-mail: re!.colemantxdps.sta’L.tx.us.


  VI. OTHER PRO V1SCS.

  (A) MOA Responsibiiides. Only authorized cmpioyees. agents, or designces of DHS
  USCIS and the User Aaency will carry out the requiiements of this MOA. In carrying
  out these responsibiities. they will .peiate vithiu the scope of applicable regulations,
  specifically delegated authorities, the p!’ograr authorities and funding limitations and
  terms and conditions of this MOA.

  (B) Determining Benefit Eligibiiity. This MOA is limited to the provision of verification
  services. DHS-USCIS wil erifv limited citizenship and immigration status information,
  but will not recornnienu t he User Agency whether to issue the benefit. The DHS
  USCIS response is not intended to he, and should not be construed as, an opinion on the
  part of DHS-USCIS 01 th United des regarai any right or benefit under any
  program administered by he User .‘r   c;.. Fhe User .cency has the responsibility to
                                        1
  determine the appiicarIt s eligibility for t hcnei:t.

  (C) Criminal Penalties.

  (1) DHS-USCIS reserves the right to use infttma:ion fiom the User Agency for any
  purpose permitted by law, including, but not litrited te. the prosecution of violations of
  Federal administrative or ciiminaiiaw.

  (2) The User Agency ackow
                       edges thai the intbr.iaion it rec.eies from DI-IS-USCIS is
                       1
  governed by the Privacy Act. 5 U.S.C. Section 52a(;(1j. and tnat any person who


                                                7
                                                                           Rev, Vcr. 1/19/10




                                                                                               App. 0870
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 15 of 22




   obtains this inlrma1i’n under false :retenss or ises it for any purpose other than as
   provided for in this MOA may he :nect to crimnal peaalties.




   (D) Third Party Liabilit.

   (1) Each party to this MOA shaH ‘c solely :esp:ihle fr its own defense against an’
   claim or action by third parties arising out of or related to the execution and’or
   performance of this MOA. whether ivii or criminal. ar retain responsibility for the
   paYment of any co;irwHnh iiabiiiy.

   (2) Nothing in this MOA is inter jied. or shjuid be construed, to create any right or
   benefit, substantive or procedural, enforceable at law by any third party against the
   United States. its agencies. officers, or employees or the User Agency.

   (E) Disputes. Disagreements on the nterpietation of the provisions of this MOA that
   cannot be resolved between the Dl-S-i..SCiS piLerant cFfiue and ;.he User Agency point
   of contact should be proided in writing ta the atiorizcd officials at both agencies for
   resolunon. Ifsettleneni canrc’i be r.acied a;. this level. the dsagreeroeat will be elevated
   to the next level in accoioanc ‘h t)HS-LSCIS procedures tbr final resolution.

   (F) Conflicts. This v()A. its at;.aehraents and acieria constitute the full MOA on this
   subject between DHS-USCl and the User                 An inconsistency or conflict
   between or among the pro’zisioas of this \iO. wili he resolved in the following order of
   precedence: (1) this MOA and (2) other documents incorporated by reference in this
   MOA, i.e.. the USCIS Ardici ated CoHeetions from Nan-Federal Sources Addendum.
   and standard billin rtnes.

   (0) Severability. Nottdng in this MOA is rLer&d to conflict with current law or
   regulation or the directives of D-iS. Dl-lS-LSClS., ortie User Agency. If a term of this
   MOA is inconsistent with such authority, then that term shall be invalid but, to the extent
   allowable, the remaining terms ane conditions ol’this MOA shall remain in full force and
   effect. In the event of a cunfiec thai prent; either pbrty frorri fulfiiiing its obligations,
   this MOA may he irinnediately canceled wtn’au prov;oing the 33 day notice period
   referenced in Section IX.

   (H) Assiunment. The tisur Agency may not assign this MOA. nor may it assign any of
   its rights or obligations undei- this MOA. To the extent allowable by law, this MOA shall
   inure to the benefit of. ar!..l be ontdi.-.2 upon. ri. ccessois o DS-USClS and the User
   Agency without reslrituiun.

   (I) Waiver. No wai’eu by either party .f any hrt.uch ofny pvision of this MOA shall
   constitute a waiver ot an’ other b:cach. FaHure of’cit;.er panty to enforce at any time, or



                                                 8
                                                                            Rev. Ve-. i’19/10




                                                                                                App. 0871
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 16 of 22




   from time to time, any urovision of this \IOA shall no: he construed to be a waiver
   thereof.




   Vii. EFFECT IVF DATE.

   This MOA shall be effective ‘\hn the DHS-U3C’iS      horized official and User Agency
   authorized official hcce :oth tg:ed he MO-’. This MOA shill :ontinue in effect unless
   modified or terminated in a ord:n;e wth the provisions of this MOA.

   VIII. MODIFiCATION.

   (A) This MOA is subject to jcrJic review by DHS-USCIS. its authorized agents or
   designees, and, if necessary. periodic modification and/or renewal to assure compliance
   with current law. poLc’. ar.d standcd cperaiia procedure(s). This MOA and the
   attached USCIS Anticipated Collections from Nen-Feceal Sources Addendum constitute
   the complete MOA tcan te -uites tr its saud pur      tose, arid no modification or
                                                        1
   addition will be ai: un:css :a :d irno bc rouLiai cnsent ci hch parties evidence i in
   writinc and signed by :oth pa:tcs atd appendeci o thc agec;ent; and

   (3) The User Agenc.y ir.aJ accomplish a unilateil administrative modification to add
   funds to the \40A. and ‘ither parry may accomplish a unilateral administrative
   modification to change POC n::ac.c. A ‘r:tten hneera! i3dification (i.e., agreed to
   and signed by authorized officia of both çar1ec is rccuiied to change any other term of
   this MOA.

   IX. TERMINATWN.

  Either party may terminate his MCs at any t.r
                                              te by odding 30 days written notice of
                                              1
  intent. DHS_USCIS. hen teasible. will consult with       User Agency and attempt to
  reconcile issues before re!miriazia this MOA. hotvithsanding any other provision in
  the MOA, DHS-USCIS may suspend or terminate this MOA vithout prior notice if
  deemed necessary because of a reouireinent of law or uoiicy. upon a determination by
  DHS-USCIS that the: has buen a hceach of i steni i:triy or security by the User
  Agency or a failure by the Jscr Agency to con:pv with estabhshed procedures or legal
  requirements. including hut not hmted to iilure to pay.

  Written notices shall be sent to the addresses of the POCs listed herein and shall he
  effective upon receipt. Either party may cnang its PUC by wrilLen notice to the other
  party.

  The foregoing, in conunct:on with the ;eerencei and incorporated at:achments,
  constitutes the full agreement on this suoject betdeen UIS-(JXlS and the User Agency.



                                                                         Rev. Ver. /19/10




                                                                                            App. 0872
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 17 of 22




   This MOA supeisci all previca 1rererts gve-r: the provision of verification
   services. Those agreements ae e:p1:ciiJy ac kn 1eded to be null and void.




                                        10
                                                                Rev. \‘er. 1/19/10




                                                                                     App. 0873
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 18 of 22




  The undersigned represent that they are authorized to enter into this MOA on behalf of
  DHS-USC’IS and the Lser Agency, respectivelY.




  John, ‘oesslei’                                    Cheryl MaBride
  Chi SAVE Program                                   Deputy Director,
  U.S. Citizenship and Immigration Services          Services
  Department of Homeland Security                    Texas Department of Public Safety


  Datl                                               Date




                                            11
                                                                      Rev. Ver. /I9/O




                                                                                        App. 0874
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 19 of 22




                                                                      I     .%.   1)cpi rinleni ‘l I Innicland Securit,,
                                                                      I           (        -   Iii   UU/   F In!!! ,gi   7!,(.fl


                                                                             r,:’     II,,,;   I)ii I’ u1I
                                                                       ii             !t        1.’! 2(’’’q


                                                                                      ‘-          U.S. Citizenship
                                                                                                  and Inunigration
                                                                                                  Services


  Fact Sheet
               Information for Applicants: Verification of Immigration Status and
                             How to Correct Your Record with 1iSCIS

  Many federal. state and local agencies verit’y the immigration status of benefit applicants to
  ensure that onl\ qualified ahens ;rraturalized and deried citizens rec\e benefits These
  agencies erif’ )rnmigratio sta:ns by using the S stenati Alien \ erilication for Entitlerneritc
           ‘



  (SAVE) Program ofte U.S Dean’’ent of Hcmea1J Securit. U S. Ctizenship and
  Immigration Sen ices (USCIS).

  The benefit-granting agency has suLmined your informatin to the SAVE Program for
  verification. Because the SAVE Program cannot confirm ‘‘or immigration status after
  completion ofa process that includes the auency pIo ding USCIS ith a copy ofyour
  immigration documentation.       mist be cd en an ojpc tuE t cor:ect your records with
                                  yIU


  USCIS and reapply for the benefit and ‘or appeal the denial of the benefit. Please note that there
  are a number of reasons hy the SAVE Pwgra!n may not ne abe to uci t \our immigration
  status. The inability of the SAVE P ogiani to ‘erif our staLls dues not necessarily mean that
  you are not authorized to be in   Liaited States or are inligi’le to receie the benefit for which
  you applied.

  If you believe that the SAVE Program lespunse to the benefit-granting agency did not provide
  accurate information about your actual mm iratlon SiatUs and/or you need to make corrections to
  your immigration reccrd. please cc tat USCIS h’ us:og cn of the hllowing methods:

  1. Schedule an appointment nr an in-person ntervie at a Ioca 1SCIS office. You may
  schedule an appointmenl at a ocal USCIS Iie ax the InioPass ebs  te.
                                                                   1
  http: nih
         .i’ u•-.
         1              _    or by calling the \anoi’al Custc’mer Sei  Center, 1—800—375—5283.
  Sc[ieji,n an              1 is the fastest way to cort your recoids. Ve recommend that you
  bring to your appointment is ct Sheet. docameiltadon c-’. dencm your immigration status.
  and any information provided b the benefit-granting agency concerning why your immigration
  status makes you nelicihe to recev.e the benefit.
  2. Submit a request in writing. If you know the information that, needs to be corrected in your
  record, you nay submit a request t ccrrec our reco’ls to the Peedcm of Information
  ActiPriacy Act (FOIA/PA) Office at ‘he folo; ing address’
     Pritac Act Ameuni.ii
     U.S. Citizenship ..nc lmmirat;i Sen ce
     National Records Ccnt    -




     FOJA PA OfficC


                                                                                                  Rev Ver June 16. 2009




                                                                                                                            App. 0875
Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 20 of 22




       P.O. Box 648010
       Lee’s Summit. MO O64-$O

   We recommend that you include the follosing information in ycur submission, if available:

       • State that ou 4ere eoied neflrs    • Copies ci ‘.our lrui$ration ‘naturalization status documents
       • Information that                   • Reason it is inaccurate
       • Proposed change( :c i}e recorJ     • A-File number and/or the full name
       • Date and place of bi.h             •            signature of the aeplicant
       • A retum address                    • Oe r::        c. on tn ma csslst in locating the record

   If you do not know the infc-mai ion ‘iou need to correct, you may suhmt a written request to
   obtain your records b\ submittir& Form G-),            PA ROUL’S1. This form is available from
   the nearest USCIS oftce or online :t Ltip:ww .nsviso ilc f.nt g-63     ).pdi. You should
                                                                          t
   use the address specifod above, hul mark the er.velope ‘Pr1i’cv ,4cr Request’ rather than
    “Frivacv Act Amenthnent.’




                                                                                      Rev. \‘er. June 16, 2009




                                                                                                       App. 0876
       Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 21 of 22

                                                                                                      U.S. Department of homeland Security
                                                                                                           J.S. (iii,    hip and Immi nation   Ser\ ices
                                                                                                          0/11cc n/I erfic,,tuM. SI I ‘6 Prog.’ini
                                                                                                          \ ihrn1inri.    )(    t1529




                                                                                                      US. Citizenship
                                                                                                      and Immigration
                                                                                                      Services

          USCIS Anticipated Collections from Non-Federal Sources Addendum
        The ‘oliowfr,a infor—stipn must be listed on this addendum and submitted to complete the t4emorandum of Agrment




                                                        Texas Department of Public Safety




                                                        Courtney   ,.,,,rrens
 Phone #          (Area     Code):                      512-424-2)70
 Fax #         (Area Code):                             512-424-2816
 E-mail:                                                apinvoires’xdos.state.tx.us
 Address:                                               PD Box 408
 Address (2nd              line):
 City, State Zip:                                       Austin, Texas 78773
.-               —
                                                .   ‘


                                                                                               .




Tax Identification Number (TIN):                        XX-XXXXXXX
 Data Universal Numbering

System (DUNS)                or     Business
 Partner Network (BPN) number                           806782272
 -   You .iy   O&ou, yO&   DL5PW .t
h:iI.r,.oouJ

                     iidg tIngIñformatIôit
                                      .                                                               •‘-




Purchase Commitment Number: 405-11-06599                                                              Update:
Payment Method (choose and
insert one of the following: wire                       Check                                         Update:
trans check, or credit card,).
ArnountObhgated (Budgeted):                          $349,904.00                 .
                                                                                                      Update:                                        -—



Funds Expiration Date:                               June30, 2012                                     Update:
                                                                                                      ‘

Name:                                                Ron Coleman
Phone Number.                                        512-424-7652
POC e-mail address:                                  ron.coIemo-t”ds sta:e.tx.us
This agreement will commence as soon as all signatures are obta:red in accordance with
                                                                                       the Memorandum of
Agreement. Both parties must agree to any amendments prior to thei’ implementation in accordance
                                                                                                  with the
Memorandum of Agreement.


Agency High Level Ii


                                                     Dep•ty Dcectr- Seces                                  lef, SAVE Program. DHS USCIS

                                                                6f2/’ I
                                                     Date                                             Date

                                          Please return this document to the SAVE Program by one
                                                                                                 of these three methods.

      1. By E-mail     save heIpdhs.gov                                               2. By US mail
                                                                                      SAVE Program MS 2620

                                                                                      U.S. Citizenship and Immigration         Services
                                                                                      Department o Homeland         Security
                                                                                      Washington, DC 20529.2620
                                                                                      Attention. SA’IIE Operations




                                                                                                                                            App. 0877
 Case 1:14-cv-00254 Document 64-43 Filed on 01/07/15 in TXSD Page 22 of 22

                                                                                 1.S. Department of Homeland Security
                                                                                 I N(           .d I iiraIIm Seces
                                                                                 U’, h  /       7 ‘)nV4 E I’rogrc;m
                                                                                             TX


                                                                                 U.S. Citizenship
                                                                           .     and Immigration
                                                                                 Services

    USCIS Anticipated Collections from Non-Federal Sources Addendum
  The following information must be listed on this addendum and submitted tcccrnj lete the Memorandum of Agreement




                        Please return this document to the SAVE Program by one of these three methods.
1. By Fax:      202-3S8-Th67                                       3. By US mat:   SAVE Program
2. By e-mail:   Save Hepdhs gay (must be a signed scan)                           490 LEnfant Plaza East, SW, Suite 7112
                                                                                  Washington, DC 20024-2135
                                                                                  Attention: Chief. SAVE Liaison




                                                                                                                   App. 0878
